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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 1:09-MD-02036-JLK


   IN RE: CHECKING ACCOUNT
   OVERDRAFT LITIGATION

   MDL No. 2036



   THIS DOCUMENT RELATES TO:
   THIRD TRANCHE ACTIONS

   Mosser v. TD Bank, N.A.
   E.D. Pa. Case No. 2:10-00731
   S.D. Fla. Case No. 10-cv-21386-JLK

   Mazzadra, et al. v. TD Bank, N.A.
   S.D. Fla. Case No. 1:10-cv-21870-JLK



     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
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                                     PRELIMINARY STATEMENT
           Upon review of Defendant T.D. Bank’s Opposition to Plaintiffs’ Motion for Class
    Certification (the “Opposition” or “Opp.”), Plaintiffs wish to clarify their proposed class
    definition. Specifically, Plaintiffs move for certification of the following Class:
           All customers of T.D. Bank, N.A. (“TD Bank”) in the United States who had one
           or more consumer accounts and who, from the applicable statutes of limitation
           through August 13, 2010, (the “Class Period”), incurred an overdraft fee as a
           result of TD Bank’s practice of sequencing debit card transactions from highest to
           lowest.

           Excluded from the Class are TD Bank; its parents, subsidiaries, affiliates, officers
           and directors; any entity in which TD Bank has a controlling interest; all
           customers who make a timely election to be excluded; and all judges assigned to
           this litigation and their immediate family members.

    This proposed revised Class definition is consistent with the class definitions proposed in the
    other motions for class certification filed in the other Third Tranche and Fourth Tranche actions
    and is included in a Proposed Order submitted concurrently herewith.
                                             INTRODUCTION
           TD Bank’s Opposition is predicated on a stunning misreading of the applicable law, a
    misapprehension of class-certification standards, and misapplication of the salient, common
    evidence that Plaintiffs will employ to prove their claims. More specifically, the crux of TD
    Bank’s argument, underpinning virtually every section of its Opposition, is that resolution of
    Plaintiffs’ claims will require examination of each Plaintiff’s individual and subjective
    expectations. On this point, TD Bank is simply wrong, and, as a result, its arguments opposing
    certification necessarily fail. Indeed, this Court rejected many of TD Bank’s arguments in its
    order certifying a class of consumers asserting similar claims against Union Bank1. TD does not
    offer a single reason why the outcome here should be any different.




    1 TD Bank concedes that Plaintiffs have satisfied several of Rule 23’s prerequisites, namely numerosity,
    typicality and adequacy of counsel as none of these requirements are discussed in TD Bank’s Opposition.
    As Plaintiffs demonstrated in their opening Motion, all of Rule 23’s requirements have been met,
    including numerosity, typicality and adequacy of counsel.

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                                            FACTUAL REPLY
    I.       TD BANK’S OPPOSITION CONFIRMS THAT ITS STANDARDIZED
             AGREEMENTS AND OTHER COMMUNICATIONS WITH CLASS MEMBERS
             UNIFORMLY FAILED TO ADEQUATELY DISCLOSE ITS POSTING ORDER
             FOR ELECTRONIC DEBIT TRANSACTIONS
             TD Bank’s Opposition confirms that it used only four versions of its Personal Deposit
    Account Agreements (“PDAAs”) during the entire Class Period. See Opp. at 2-3; Declaration of
    Matthew Chevalier, dated January 27, 2012 (“Chevalier Decl.”), at ¶ 20. TD Bank’s Opposition
    also confirms that these PDAAs were uniformly vague and misleading with regard to the order in
    which the Bank posted electronic debit transactions throughout the Class Period.
             In this regard, although TD Bank suggests that, prior to January 2007, it used a PDAA
    “that did not distinguish between checks and electronic debits” see Opp. at 2, in reality, the only
    provision in TD Bank’s PDAAs at this time alluding to the posting order employed by TD Bank
    spoke only of checks, made no mention of electronic debits whatsoever and did not even specify
    the posting order TD Bank employed for processing checks.2
             The next version of TD Bank’s PDAA, which TD Bank started using in January 2007,
    was equally vague with regard to the order in which TD Bank posted transactions to its
    customers’ accounts.      Similar to the prior version of the PDAA, this version stated that
    “[m]ethods available to the Bank for processing checks and other items for payment include, but
    are not limited to, by dollar amount from highest to lowest, by number or by date.” Opp. at 2;
    Chevalier Decl., at ¶ 20, Ex. E at MDL-TD-0004400. This version of the PDAA also stated that
    “we typically process checks and other items from the highest to lowest dollar amount” and that
    “[w]e do not process transactions in the order in which they occurred.” Chevalier Decl. at MDL-
    TD-0004401. This PDAA also failed to specify a posting order for electronic debits, as it did not
    indicate which items other than checks TD Bank “typically” posted in high-to-low order.
    Moreover, as noted in Plaintiffs’ moving papers, any suggestion that TD Bank “typically” posted
    electronic debits is misleading on its face, as TD Bank has conceded that the posting order for


         2
          Declaration of JoAnn Leon, dated Jan. 25, 2012 (“Leon Decl.”), at ¶ 10, Ex. C at MDL-TD-0009188
    (“Payment of Checks: Incoming checks received each day are processed in any order convenient to the
    Bank using criteria deemed appropriate by the Bank. Methods available to the Bank for processing
    checks for payment include, but are not limited to, by dollar amount of the item from highest to lowest,
    by item number or by item date.”).
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    such transactions “is always highest to lowest.” See Plaintiffs’ Motion for Class Certification
    and Incorporated Memorandum of Law (“Motion” or “Mot.”) at 14.
           The subsequent version of the PDAA, which TD Bank began to use in June 2009, was
    similarly misleading. This version of the PDAA deleted the language purporting to “typically
    process checks and other items from the highest to lowest dollar amount” but retained the
    language indicating that “[m]ethods available to the Bank for processing checks and other items
    for payment include, but are not limited to, by dollar amount from highest to lowest, by number
    or by date.” Opp. at 2; Chevalier Decl., ¶ 20, Ex. I at MDL-TD0004616-17. In essence, the
    PDAA reverted to a form that did not attempt to specify any posting order at all.
           The fourth and final version of the PDAA used by TD Bank during the Class Period was
    also deceptive. This version, similar to all prior versions of the PDAA utilized by TD Bank
    during the Class Period, deleted the language stating that “[w]e do not process transactions in the
    order in which they occurred” but retained the language stating that “[m]ethods available to the
    Bank for processing checks and other items for payment include, but are not limited to, by dollar
    amount from highest to lowest, by number or by date.” Opp. at 3; Chevalier Decl., ¶ 20, Ex. J at
    MDL-TD-0004640.3 Thus, each of TD Bank’s PDAAs was vague and concealed the posting
    order it applied to electronic debit transactions.
           Despite its assertions to the contrary, TD Bank’s other written communications with its
    customers also failed to clarify the posting order it applied to electronic debit transactions.
    Instead, these communications merely cross-referenced or incorporated the PDAA’s vague and
    ambiguous references to “available” posting orders, providing further evidence that TD Bank’s
    communications with its customers uniformly failed to adequately disclose the posting order it
    applied to electronic debit transactions.4




       3
         TD Bank’s most recent PDAA, which was not utilized until March of 2011, well after the end of the
    Class Period, is irrelevant.
       4
           Opp. at 2 (citing Chevalier Decl. ¶ 18, Ex. D at MDL-TD-0004771) (“We reserve the right to
    modify this order at any time. Please see the Personal Deposit Account Agreement for details.”); 3-4
    (citing Chevalier Decl., ¶ 14 (describing “Reference Guide” sent to legacy Commerce Bank customers
    (Chevalier Decl., Ex. A))( accompanied by PDAA stating that “[m]ethods available to the Bank for
    processing checks and other items for payment include, but are not limited to, by dollar amount from
    highest to lowest, by number or by date.” (Chevalier Decl., Ex. B)).
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           TD Bank suggests that its customers engaged in discussions with its representatives on
    the subjects of overdraft fees and posting order. Opp. at 4 (citing notes written by TD Bank
    employees indicating that they “educated” or “explained” posting TD Bank’s posting order
    and/or overdraft fee policies). However, TD Bank fails to present any evidence indicating that
    its representatives adequately explained its overdraft fee policies or posting order it applied to
    electronic debit transactions. Id. Indeed, as Plaintiffs noted in their moving papers, the evidence
    shows that not even TD Bank’s employees understood TD Bank’s overdraft policies. Mot. at 21.
           In sum, TD Bank’s Opposition confirms that it never adequately disclosed the order in
    which it posted electronic debit transactions. Instead, TD Bank masked its posting order by
    alluding to several “available” posting orders it might use in both its PDAAs and other written
    communications disseminated to its customers. Moreover, TD Bank has not submitted any
    evidence that its representatives disclosed its actual posting order to its customers.
    II.    CLASS MEMBERS’ SUBJECTIVE EXPECTATIONS AND UNDERSTANDINGS
           CONCERNING HOW TD BANK POSTED TRANSACTIONS ARE
           IRRELEVANT
           As this Court has already held, “expectations are entirely immaterial. Controlling in this
    litigation is what the parties agreed to in their contracts. Not whether Plaintiff expected to get a
    free account or a pair of dishes when they signed on the dotted line.” Opinion Setting Standards
    For Resolution of Discovery Interrogatories and Production of Documents (“Order Setting
    Standards”) [D.E. 1016] at 11. As discussed below, the Court’s conclusion is well-supported by
    the relevant legal authority.
    III.   WHETHER OR NOT CLASS MEMBERS OPTED IN TO DISCRETIONARY
           OVERDRAFT SERVICE UPON IMPLEMENTATION OF THE FEDERAL
           RESERVE’S NEW REGULATIONS IS ALSO IRRELEVANT
           Plaintiffs move for certification of a Class of consumers who incurred overdraft fees as a
    result of TD Bank’s practice of sequencing electronic debit transactions from highest to lowest
    prior to August 13, 2010, when the Federal Reserve’s regulations requiring banks to employ
    “opt-in” discretionary overdraft service became effective. Accordingly, whether or not Plaintiffs
    or Class members opted in to this service offered by TD Bank is irrelevant to class certification.
    If it is relevant at all, it merely shows that TD Bank had the ability to utilize such an “opt-in”
    discretionary overdraft service but, to the detriment of Class members, it refused to adopt such a
    service until it was forced to do so by the Federal Reserve.

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    IV.    CONTRARY TO TD BANK’S ASSERTIONS, THE RECORD SHOWS THAT TD
           BANK USED ITS HIGH-TO-LOW POSTING ORDER TO MAXIMIZE ITS
           OVERDRAFT FEE REVENUE
           TD Bank's suggestion that there is no evidence that it adopted a posting order that
    maximized overdraft fee revenue, Opp. at 5, is disingenuous at best. This assertion is predicated
    entirely on TD Bank's claim that its posting order is substantially closer to the posting order that
    generates the least number of overdrafts than the posting order that generates the most possible
    overdrafts. Opp. at 5-6. (citing Declaration of Steven Visser, dated January 27, 2012 (“Visser
    Decl.”), Ex. 4).     However, this contention is based entirely on Mr. Visser's retrospective
    application of these posting orders to past transactions executed by the named Plaintiffs, which
    fails to take into account how many customers TD Bank could have retained if it had utilized the
    posting order that generates the most possible overdrafts and whether that method, if properly
    disclosed to consumers, would in fact generate the maximum number of overdraft fees. In
    reality, the record shows that TD Bank utilized overdraft fee policies that it believed would
    increase overdraft fees to the fullest extent possible given the size of its customer base. See, e.g.,
    TD000033973-33985, at 33976 (detailing how the implementation of Project MORE increased
    overdraft fee revenue from 45 cents per account per business day to 63.5 cents per account per
    business day -- just 3 cents shy of the industry average -- and noting that “[t]he size of the TD
    footprint prevents us from growing significantly beyond the average”), relevant pages attached
    hereto as Ex. “A.”
           TD Bank's assertion that any alternative posting order that sought to approximate
    chronological posting of customer transactions would have increased overdraft fees for many
    customers, Opp. at 6, is equally baseless. In support of its position, TD Bank offers several
    purported alternative chronological posting orders in the declaration of Mr. Visser. See Visser
    Decl. at 5-7. However, TD Bank ignores Mr. Visser’s analysis of the “Scenario 2A” posting
    order, which Judge Alsup adopted as the proper posting order in Gutierrez and which posts
    certain debits in chronological order. That analysis shows that every Plaintiff fared better under
    Scenario 2A than under TD Bank’s high-to-low posting order. Moreover, each of the other
    alternative chronological posting orders Mr. Visser analyzed are patently unreasonable and
    manipulated to disfavor Class members by posting all checks in “buckets” ahead of the
    “buckets” for all debit card transactions on a given day based on the dates written on the checks

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    (which are nearly always prior to the date of debit card transactions posted on the same day) as
    opposed to the dates when the checks were posted to Class members’ accounts. See id. at 5-7,
    10; Transcript of Deposition of Steven Visser, dated February 16, 2012 (“Visser Depo.”), at
    211:14-214:3, attached hereto as Exhibit “B.” As Mr. Visser readily acknowledged at his
    deposition, he used the dates on Class members’ checks even though he could not independently
    verify their accuracy, id. at 221:24-222:11; 223:20-225:11, and despite the fact that accurate
    posting dates are maintained in TD Bank’s computer systems, id. at 220:23-221:4, and could be
    used to sequence checks “in a programmatic fashion.” Id. at 212:16-213:5. Moreover, none of
    Mr. Visser’s purported alternative chronological posting orders take into account checks dated
    and posted on the same day as prior debit card transactions. Id. at 227:15-229:14. As each of the
    purported alternative chronological posting orders proposed by Mr. Visser suffers from
    fundamental flaws that disfavor Class members, they prove nothing about how Class members
    would have fared under a fair chronological posting order. If they are relevant at all, they merely
    confirm that, given a particular posting order, both Plaintiffs’ expert and TD Bank’s expert are
    capable of analyzing the impact of those posting orders on Class members on a programmatic
    basis.
    V.       TD BANK'S SECRET CREDIT LINE FURTHERED ITS DECEPTIVE SCHEME

             Although TD Bank claims that Plaintiffs have not alleged that the secret credit line it
    applied to its customers’ accounts (dubbed “OD Points”) caused class members harm, Opp. at 6-
    7, it has not offered any valid reason for keeping this line of credit a secret. In reality, the only
    purpose of this secret line of credit was to maximize the impact of its re-sequencing scheme by
    increasing the number of debit transactions authorized and, therefore, the number of overdrafts.
    See Mot. at 10. Accordingly, TD Bank's failure to disclose the process it used to determine the
    amount of each customer’s line of credit and authorized transactions that would overdraft
    accounts was an integral part of its deceptive scheme.
                                              ARGUMENT
    I.       PLAINTIFFS HAVE ESTABLISHED COMMONALITY
             TD Bank argues that Plaintiffs have failed to satisfy the commonality requirement of
    Rule 23(a)(2) as described in Wal-Mart Stores, Inc. v. Dukes, -- U.S. --, 131 S.Ct. 2541 (2011).
    Opp. at 7-10. TD Bank first accuses Plaintiffs of misrepresenting the commonality standard

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    because Plaintiffs did not cite Dukes in their Motion, and further argues that the common
    questions of fact and law offered by Plaintiffs here are like the questions rejected as being
    insufficient in Dukes. Opp. at 8-9. TD Bank’s arguments should be rejected. Although the
    Supreme Court in Dukes did clarify the commonality standard, the facts and claims at issue in
    Dukes are nothing like those at issue in this case.. And unlike the questions presented by the
    Dukes plaintiffs as being common, the common questions presented by Plaintiffs here are based
    on a systematic course of conduct by TD Bank and also “drive the litigation.” Dukes, 131 S.Ct.
    at 2551 (resolution of the common question must “drive the resolution of the litigation”).
           The plaintiffs in Dukes brought a Title VII employment discrimination case on behalf of
    the defendant’s female employees and moved to certify a class under Rule 23(b)(2). The Court
    concluded that the plaintiffs failed to satisfy the threshold commonality requirement.
    Specifically, “[t]he Supreme Court held that [] a ‘common contention’ was lacking … because
    the basis for liability – the ‘glue’ holding all of the individual class member’s claims together –
    was not merely disfavor in pay and promotion, but the reason why each class member was
    disfavored.” Jermyn v. Best Buy Stores, L.P., No. 08-214, 2011 U.S. Dist. LEXIS 104449, at
    *10 (S.D.N.Y. Sept. 15, 2011). In other words, the ability of all class members to recover in
    Dukes was dependent on the reason why a particular action was taken, so answering the question
    in one case would not necessarily answer the question as to all class members. Dukes, 131 S. Ct.
    at 2561. Because the plaintiffs failed to produce evidence of any common corporate policy or
    practice that could supply the “why” behind the challenged employment decisions, Rule 23(a)(2)
    was not satisfied.
           Unlike the plaintiffs in Dukes, Plaintiffs here have provided evidence of a common
    corporate policy or practice, namely, TD Bank’s systematic and uniform manipulation and re-
    ordering of debit card transactions to increase the number of overdraft fees imposed. “Of course,
    when a group of plaintiffs suffer under a uniform policy, the commonality test is often satisfied,
    even after Dukes.” Oakley v. Verizon Communications, Inc., No. 09-9175, 2012 U.S. Dist.
    LEXIS 12975, *38 (S.D.N.Y. Feb. 1, 2012). Here, the “why” behind Defendant’s wrongful
    conduct is irrelevant, unlike the “why” behind the employment decisions in Dukes, because all
    Class members were subject to the same corporate policy. See Jermyn, 276 F.R.D. at 172 (“In
    the deceptive business practice context, by contrast, the ‘why’ is less relevant, if it is relevant at
    all.”). The practices that Plaintiffs challenge are standardized and apply on a routine basis to all
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    Class members. Plaintiffs satisfy the Dukes commonality standard by alleging and providing
    significant evidence that TD Bank uniformly manipulated and re-ordered debit card transactions
    to increase the number of overdraft fees imposed. That is the common contention that applies to
    all Class members that drives the resolution of this litigation. Dukes, 131 S. Ct. at 2551.
            Moreover, the six common questions presented in Plaintiffs’ Motion are exactly the types
    of questions contemplated by the Supreme Court in Dukes as satisfying the commonality
    requirement.5 Indeed, this Court has already found that substantially similar questions satisfied
    the commonality standard in Larsen v. Union Bank, which was issued after Dukes. 275 F.R.D.
    666, 673-74 (S.D. Fla. 2001). Nonetheless, TD Bank takes issue with Plaintiffs’ first five
    questions, arguing that each question “turns on the individual understanding of each customer.”
    Opp. at 9.     Not so.     Each question, from whether the Bank manipulated and reordered
    transactions to increase overdraft fees, to whether the Bank delayed posting transactions so that
    Class members were charged overdraft fees even when there were sufficient funds in the
    account, concerns TD Bank’s uniform conduct, not each customer’s understanding of it. And, as
    explained more fully below, each customer’s knowledge of and subjective expectations
    regarding TD Bank’s posting practices are irrelevant to Plaintiffs’ claims.
            Finally, TD Bank argues that Plaintiffs’ sixth question does not satisfy the commonality
    requirement because it is too broad. Opp. at 8. This question tracks each of the counts asserted
    by Plaintiffs. As set forth in Plaintiffs’ Motion, and below, these claims not only present
    common questions of law and fact, but they predominate over any individual questions that may
    exist. By satisfying the predominance standard for each of the claims, Plaintiffs have necessarily
    established the commonality requirement.



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          Whether TD Bank: (1) Disclosed or refused to allow its Class members to opt out of the overdraft
    protection program and secret line of credit; (2) Alerted Class members that a debit card transaction
    would trigger an overdraft fee if processed and provided them with an opportunity to cancel the
    transaction; (3) Manipulated and re-ordered transactions in order to increase the number of overdraft fees
    imposed; (4) Imposed overdraft fees when, but for re-sequencing, there would be sufficient funds in the
    account; (5) Delayed posting transactions so that Class members were charged overdraft fees even when
    sufficient funds were in the account to cover the transactions; and (6) Breached its covenant of good faith
    and fair dealing with Plaintiffs and the Class; engaged in practices that were substantially and
    procedurally unconscionable; was unjustly enriched at the expense of Plaintiffs and the Class; and
    violated the [UDAP] laws of Connecticut, New Jersey, New York, Pennsylvania, and Vermont. Motion
    at 26-27.
                                                     -8-
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    II.        COMMON QUESTIONS PREDOMINATE

          A.      Common Issues Relating to Plaintiffs’ Breach of Contract and Breach of the
                  Duty of Good Faith and Fair Dealing Claims Predominate.

                             (1)     Individualized evidence is irrelevant because the uniform
                                     deposit agreements control the litigation.

               TD Bank contends that individual issues predominate on Plaintiffs’ claim for the breach
    of the duty of good faith and fair dealing because the jury will have to determine each Class
    member’s expectations by reviewing evidence of each Class member’s individual
    circumstances.6 Opp. at 13-17. However, as noted above, this Court has already held that
    Plaintiffs’ expectations concerning TD Bank’s posting practices are immaterial because it is the
    PDAAs that control the litigation. Order Setting Standards [D.E. 1016] at 11.
               Further, TD Bank sinks its own argument by conceding, as it must, that courts first look
    to the words of a contract to ascertain the expectations of the parties. Opp. at 13 (citing Key v.
    Allstate Ins. Co., 90 F.3d 1546, 1548-49 (11th Cir. 1996); 11 Williston on Contracts § 31:4, at
    277-78 (4th ed.)). Here, the vague language of the contracts, which purported to give TD Bank
    the discretion to apply a variety of posting orders, created the objective expectation that TD Bank
    would use its discretion in good faith. TD Bank uniformly thwarted this expectation by always
    reordering debits from highest to lowest and grouping together POS transactions that occurred on
    subsequent days with POS transactions that occurred on earlier days. Thus, the premise of TD
    Bank’s argument regarding consumer expectations—that “Plaintiffs seek to build their case by
    alleging expectations and circumstances that are outside . . . the applicable writings,” Opp. at 15,
    —is wrong. The Court need only examine the language of the contracts to determine the
    justified, objective expectations of Plaintiffs and the Class.




          6
          TD Bank claims the “central claim” advanced under Count I is that by posting debit transactions
    from highest dollar amount to lowest dollar amount, TD Bank “thwarted Plaintiffs’ expectations.” Opp.
    at 13. However, this is only a partial description of the wrongful conduct giving rise to Plaintiffs’ claim
    for breach of the duty of good faith and fair dealing. As set forth in Plaintiffs’ Third Amended
    Consolidated Complaint, Plaintiffs alleged that TD Bank not only manipulated debit card transactions to
    increase overdraft fees, but also did not fairly disclose these manipulations and kept secret from Plaintiffs
    and Class members the secret line of credit that was linked to Plaintiffs’ accounts.
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                             (2)     Even if evidence outside of the language of the deposit
                                     agreements were required to establish the parties’
                                     expectations, common issues still predominate because the
                                     parties’ expectations are determined by an objective standard

            Even if TD Bank were correct that evidence outside of the language of the PDAAs was
    required to determine the parties’ expectations, TD Bank is wrong that the standard for
    determining the expectations of the parties is subjective, such that the individual understanding
    of each TD Bank customer as to posting order must be considered. Opp. at 16. The vast
    majority of cases that have specifically addressed the issue have held that the expectations of the
    parties are determined by an objective, rather than subjective, standard. See Larsen, 275 F.R.D.
    at 680 (“For example, it is not the case that the individual Plaintiffs’ and class members’
    subjective expectations are necessary to prove their claims. To the contrary, breach of the duty
    good faith and fair dealing may be shown by class-wide evidence of a defendant’s subjective bad
    faith or objectively unreasonable conduct”).7 The use of an objective standard for a consumer’s
    reasonable expectations is particularly appropriate here because TD Bank’s account agreements
    were standardized contracts of adhesion. The Restatement recognizes that “[s]uch a writing is
    interpreted wherever reasonable as treating alike all those similarly situated, without regard to
    their knowledge or understanding of the standard terms of the writing.” Restatement (Second)
    Contracts § 211(2) (emphasis added). The rule also considers exceptions where some customers
    have superior knowledge, but such exceptions do not alter the rule. “[C]ourts in construing and
    applying a standardized contract seek to effectuate the reasonable expectations of the average
    member of the public who accepts it. The result may be to give the advantage of a restrictive


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           See also In re Chase Bank USA, N.A. “Check Loan” Contract Litig., 274 F.R.D. 286, 290 (N.D.
    Cal. 2011) (holding that, under Delaware law, “the reasonable expectations of the class are measured by
    an objective standard, and as plaintiffs argue, can be determined here with evidence common to the
    class.”); Clancy v. King, 954 A.2d 1092, 1108 (Md. 2008) (under Maryland law, where personal taste
    does not provide the basis for the exercise of discretion under a contract, and objective standard of what
    constitutes good faith and fair dealing applies); Post v. Killington No 07-252, 2008 U.S. Dist. LEXIS
    92495, *5-6 (D. Vt. Oct. 14, 2008) (parties’ expectations determined by an objective standard). See also
    Pippert v. Niece, 518 F. Supp. 2d 1265, 1273 (D. Ore. 2007) (holding that, when examining claim for the
    breach of the duty of good faith and fair dealing, the “expectations are held to an objective standard.”); In
    Re: World Famous, Inc. v. Keybank National Assoc., No. 04-61005, 2004 Bankr. LEXIS 1045, *10
    (Bankr. D. Or. June 21, 2004) (“This test has been described as an “objective” test, in which the court
    looks to the objectively reasonable expectations of the parties in determining whether the obligation of
    good faith has been met.”).
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    reading to some sophisticated customers who contracted with knowledge of an ambiguity or
    dispute.” Id., cmt. e. Because the standard for determining the parties’ expectations is an
    objective one, the various portions of the named Plaintiffs’ deposition testimony that TD Bank
    focuses upon are irrelevant. Opp. at 17-21.
            Indeed, if the parties’ subjective expectations were relevant, a claim for the breach of the
    duty of good faith and fair dealing could never be certified because the jury would always have
    to consider individualized evidence for each class member. Thus, the fact that numerous courts
    have certified claims for the breach of the duty of good faith and fair dealing plainly disposes of
    TD Bank’s novel argument.8
            TD Bank cites two New Jersey state court cases in support of its argument that claims for
    the breach of the duty of good faith and fair dealing require proof of each individual plaintiff’s
    subjective expectations, but those decisions do not even address this issue. Opp. at 16. TD Bank
    first cites language from Seidenberg v. Summit Bank, 791 A.2d 1068, 1077 (N.J. Super. Ct. App.
    Div. 2002), stating that, “[t]o determine what is considered a good faith performance, the court
    must consider the expectations of the parties and the purposes for which the contract was made.”
    Second, TD Bank cites language from Wilson v. Amerada Hess Corp., 773 A.2d 1121, 1130
    (N.J. 2011), stating that “the plaintiff’s interest is internal to the understanding of the parties and
    good faith requires the defendant not to exercise such discretion as it may have under the literal
    terms of the contract to thwart plaintiff’s expectation or purpose.” TD Bank incorrectly infers
    from this language that the expectations of the parties are determined by a subjective standard,
    but this is not what these cases hold. See In re FedEx Ground Package Sys., Empl. Practices
    Litig., 273 F.R.D. 424, 461 (N.D. Ind. 2008) (Seidenberg does not stand for the proposition “that

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          See Marcus, v. B.M.W. North America, LLC, No. 08-5859, 2010 U.S. Dist. LEXIS 122908, *41-42
    (D.N.J. Nov. 19, 2010) (certifying New Jersey state class for breach of the covenant of good faith and fair
    dealing and rejecting the defendant’s argument that individual evidence of disclosures made to each class
    member would be required); Grey v. Hearst Communications, Inc., No. 10-1302, 2011 U.S. App. LEXIS
    17890, *10 (4th Cir. Aug. 25, 2011) (affirming district court’s certification of claim for breach of the duty
    of good faith and fair dealing under South Carolina law); Johnson v. Geico Gen. Ins. Co., 673 F. Supp. 2d
    255, 275-76 (D. Del. 2009) (certifying claim for breach of the duty of good faith and fair dealing where
    the defendant employed “systematic procedures” that “applie[d] on a class-wide basis.”); In re Avon
    Securities, 1998 U.S. Dist. LEXIS 18642, *35 (S.D.N.Y. Nov. 19, 1998), Englade v. HarperCollins
    Publishers, 289 AD.2d 159, 159-60 (App. Div. 1st Dep’t 2001). See also Gibbs Properties v. Cigna, 196
    F.R.D. 430, 441 (M.D. Fla. 2000) (denying certification but holding that whether “the doctrine of good
    faith and fair dealing were breached through Defendants’ employment of the each and every practice is
    susceptible to class-wide proof.”).
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    an inquiry into each [parties’] intent will be needed to resolve claims for breach of the duty of
    good faith and fair dealing”). While these courts hold that the parties’ reasonable expectations
    should be considered, they did not address the standard by which the expectations of the parties
    are determined.9 The other authorities upon which TD Bank relies for the proposition that each
    Class member’s claimed expectations and knowledge must be considered are also readily
    distinguishable and, in any event, are not binding on this Court. Opp at 22-24.10
            B.      Common Issues Relating to Plaintiffs’ Unconscionability Claim Predominate.
            All of the elements of Plaintiffs’ claims for unconscionability are susceptible to common
    proof. See, e.g., Dienese v. McKenzie Check Advance of Wis. L.L.C., 2000 U.S. Dist LEXIS
    20389, at *13-14 (E.D. Wis. Dec. 11, 2000) (citing cases approving class certification of
    common-law unconscionability claims). The common proof will include evidence of TD Bank’s
    financial resources and sophistication in devising the overdraft fee program (Trial Plan at 6 &
    n.9); TD Bank’s form contracts with boilerplate language (id. at 6 & n.10); TD Bank’s failure to

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          TD Bank also cites Arizona, New Mexico and Alabama case law to support its position, but the law
    of these states is irrelevant. Opp. at 16. In any event, these cases are either inapplicable or readily
    distinguishable. In Stratton v. Am. Med. Sec., Inc., 266 F.R.D. 340, 353 (D. Ariz. 2009), although the
    plaintiffs asserted a breach of contract and breach of the duty of good faith and fair dealing claim, the
    court noted that “[p]laintiff proposes a common issue that only relates to Defendants’ marketing and
    selling of the group policy” which the court found would require consideration of circumstances such as
    “the insurance agent’s representations to the insured.” Here, Plaintiffs’ claims are based on the language
    in the contract regarding posting order, not any representations made to Plaintiffs as to posting order. In
    any event, the court in Stratton never specifically addressed whether the standard for determining the
    expectations of the parties was subjective or objective. The decisions in both Brooks v. Norwest Corp.,
    103 P.3d 39, 52 (N.M. 2004) and Compass Bank v. Snow, 823 So. 2d 667, 677 (Ala. 2001) address NSF
    charges for checks rather than debit transactions. Further, in Brooks, while the court held that the
    customers’ “reasonable expectations” should be considered, 103 P.3d at 52, the court did not specifically
    address whether the standard for determining those expectations was objective or subjective. The Snow
    decision did not even address a claim for the breach of the duty of good faith and fair dealing.
            10
               In Avritt v. Reliastar Life Ins. Co., 615 F.3d 1023 (8th Cir. 2010), the contracts at issue were
    individually negotiated with thousands of independent agents who were not required to follow any script
    and who were free to answer questions about the product, making it impossible to ascertain the prevailing
    objective consumer’s expectations. Id. at 1027. In contrast, here, as in Larsen, the PDAAs “are uniform
    form contracts offered on a take-it-or-leave-it basis and were not the product individual negotiations.”
    Larsen, 275 F.R.D. at 677 (citing Sacred Heart Health Sys., Inc. v. Humana Military Healthcare Servs.,
    Inc., 601 F.3d 1159, 1171 (11th Cir. 2010) (“It is the form contract, executed under like conditions by all
    class members that best facilitates class treatment.”)). In addition, TD Bank’s PDAAs did not advise any
    of the Class members of the invariable high-to-low posting order. Thus, similar to the plaintiffs in
    Larsen, Plaintiffs here would not have to prove a variety of individual circumstances to support the
    breach. Id.

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    provide Plaintiffs and Class members with any meaningful opportunity to negotiate the terms of
    their deposit agreements or to opt out of the overdraft program (id. at 6 & n.11); and widespread
    consumer complaints about the unfairness of TD Bank’s overdraft fees (id. at 6 & n.12). TD
    Bank ignores Plaintiffs’ evidence, instead claiming that proof of substantive and procedural
    unconscionability will require individualized proof. Opp. at 24-27.
           To establish procedural unconscionability, Plaintiffs must prove that they and Class
    members lacked a meaningful choice. See Trial Plan Exhibit C. The standardized nature of TD
    Bank’s deposit agreements, which none of Plaintiffs or Class members, regardless of their
    sophistication and experience, were able to negotiate, and the gross disparity of bargaining
    power are common factors supporting procedural unconscionability.             Defendants point to
    Plaintiffs’ deposition testimony regarding their understanding of the deposit agreement to
    establish that Plaintiffs had differing levels of sophistication and knowledge. Opp. at 26. But
    Plaintiffs’ understanding of the language of the deposit agreement is irrelevant to the question of
    whether Plaintiffs and Class members had a meaningful choice.
           In addition, individualized proof of substantive unconscionability is not required.
    Substantive unconscionability requires proof that the contract contains terms which unreasonably
    favor the other party. See Trial Plan Exhibit C. This element can be established through
    common proof with evidence of the terms of the deposit agreement itself. TD Bank contends
    that whether its boilerplate, form contracts are substantively unconscionable depends on the
    parties’ circumstances. This is incorrect. The terms of the deposit agreement, as set forth in the
    uniform deposit agreement itself, either unreasonably favor TD Bank or they do not. While this
    is a merits question not appropriately addressed at this stage, it is a question that can be
    established through common proof.
           C.      Common Issues        Relating    to     Plaintiffs’   Unjust   Enrichment    Claim
                   Predominate.
           Plaintiffs will proffer common evidence to prove their claims for unjust enrichment,
    which require that “(1) the plaintiff has conferred a benefit on the defendant; (2) the defendant
    has knowledge of the benefit; (3) the defendant has accepted or retained the benefit conferred;
    and (4) the circumstances are such that it would be inequitable for the defendant to retain the
    benefit without paying fair value for it.” Degirmenci v. Sapphire – Fort Lauderdale, LLLP, 693
    F. Supp. 2d 1325, 1347 (S.D. Fla. 2010); see also Trial Plan at 6-7. Here, Plaintiffs’ unjust

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    enrichment claim is based upon conduct embodied in TD Bank’s scheme to maximize overdraft
    fees. Where corporate policies constitute the focus of the plaintiffs’ claims, common issues will
    predominate because such policies would necessarily have to be re-proven by every plaintiff if
    each claim were tried separately. Klay v. Humana, Inc., 382 F.3d 1241, 1257 (11th Cir. 2004).
           Plaintiffs will also use common evidence to demonstrate that they and the Class members
    conferred a benefit on TD Bank by paying excessive overdraft fees. Trial Plan at 6-7. The
    common evidence will include expert testimony based upon a detailed analysis of TD Bank’s
    overdraft transaction data. See, e.g., Olsen Decl., ¶¶ 37-53 (Appx. IV to Plaintiffs’ Motion). See
    also Supplemental Olsen Decl., attached as Ex. “C.” Plaintiffs will proffer common evidence
    that TD Bank knew that the benefit conferred – greater overdraft fee revenue – would result from
    its overdraft scheme. Plaintiffs will further establish with common evidence that TD Bank
    understood the benefit and unjustly took advantage of it to the detriment of Plaintiffs and Class
    members.
           Relying on Vega v. T-Mobile USA, Inc., 564 F.3d 1256 (11th Cir. 2009), TD Bank
    contends that individual questions predominate with regard to Plaintiffs’ unjust enrichment
    claim. Opp. at 27-28. However, Vega is distinguishable from the instant case. In Vega, the
    court found that different employees had different understandings of the commission system at
    issue and that many employees knew and understood how the system worked. Id. at 174-75.
    Here, TD Bank has provided no evidence that Plaintiffs or Class members were informed of the
    true nature of its exploitative overdraft scheme.         Furthermore, “common questions can
    predominate in unjust enrichment claims where ‘the defendant’s conduct is the same as to all
    members of the putative class. . . . [W]hen the defendant’s conduct is the same, ‘it is difficult to
    conceive of any significant equitable differences between class members.’” James D. Hinson
    Elec. Contr. Co. v. BellSouth Telecomms., Inc., 275 F.R.D. 638, 647 (M.D. Fla. 2011) (quoting
    County of Monroe v. Priceline.com, Inc., 265 F.R.D. 659, 671 (S.D. Fla. 2010)). The evidence
    Plaintiffs will proffer will focus on TD Bank’s practices, which applied equally to all bank
    customers. This common evidence will focus on the Defendant’s gain and not on Plaintiffs’
    losses. See Trial Plan at 6-7. Accordingly, it is evident that “success or failure in proving this
    unjust enrichment claim will mean success or failure for the class as a whole, not for individual
    class members.” In re Terazoxin Hydrochloride Antitrust Litig., 220 F.R.D. 672, 698 (S.D. Fla.
    2004) (certifying unjust enrichment class).
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             D.     Common Issues Related to Plaintiffs’ Statutory Unfair and Deceptive Trade
                    Practice Claims Predominate.
             Plaintiffs will use common evidence to prove that TD Bank violated the consumer
    protection statutes of Pennsylvania, New Jersey, New York, Connecticut and Vermont. TD
    Bank contends that these claims require individual inquiries into causation. Opp. at 28-30
    However, TD Bank admits that reliance is not a required element under the consumer protection
    statues of New Jersey, New York and Connecticut. Opp. at 29.11
             The Pennsylvania Unfair Trade Practices and Consumer Protection Law or “UTPCPL”,
    which TD Bank argues requires a showing of reliance, actually requires that a plaintiff show that,
    as a result of the defendant’s fraudulent or deceptive conduct, he or she suffered an
    “ascertainable loss of money or property.”            73 Pa. Stat. Ann. § 201-9.2.          Under certain
    circumstances, this causation requirement may preclude class treatment because justifiable
    reliance is the only way to establish causation. See e.g., Weinberg v. Sun Co., Inc., 777 A.2d 442
    (Pa. 2001) (affirming denial of class certification of UTPCPL claim where plaintiffs alleged
    deceptive advertising because plaintiffs would have to prove the reliance of all class members to
    establish causation in the case). However, this is not that type of case. Causation under the
    UTPCPL can be established on a class-wide basis without a showing of individualized reliance
    where “the alleged violation is a uniform policy and practice of charging excessive fees.” Allen
    v. Holiday Universal, et al., 249 F.R.D. 166, 192 (E.D. Pa. 2008) (certifying UTPCPL claim). In
    these cases, “there is no doubt as to the cause of the ascertainable monetary loss.” Id. at 193
    (emphasis in original). As in Allen, there is no real issue in this case as to the “ascertainable
    loss” requirement because all Class members were wrongfully charged overdraft fees as a result
    of TD Bank’s wrongful conduct.
             TD Bank contends that, regardless of whether a showing of reliance is necessary,
    establishing causation under each of the consumer protection statutes will require an inquiry into
        11
            In footnote 15, TD Bank says it appears that Vermont’s consumer protection statute requires
    reliance, but TD Bank is incorrect. Reliance is required under the Vermont Consumer Fraud Act only if
    the plaintiff has not sustained damage or injury, and in such case, the plaintiff must establish that he or
    she contracted for goods or services in reliance on the wrongful conduct. Otherwise, the plaintiff must
    only establish a causal connection between the wrongful conduct and the injury. See VT. STAT. ANN. tit.
    9, § 2461(b) (“Any consumer who contracts for goods or services in reliance upon false or fraudulent
    representations or practices prohibited by section 2453 of this title, or who sustains damages or injury as a
    result of any false or fraudulent representations or practices prohibited by section 2453 of this title, or
    prohibited by any rule or regulation made pursuant to section 2453 of this title may sue …”).
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    each individual customer’s particular circumstances. Not so. While Plaintiffs must establish a
    causal connection between TD Bank’s wrongful conduct and Plaintiffs’ loss, proof of causation
    will not require any individualized determinations. Instead, Plaintiffs will use common evidence
    to establish TD Bank’s liability, including evidence that TD Bank: uniformly re-sequenced
    transactions and posted debits from highest to lowest for all Class members in the same manner
    (Trial Plan at 4-5 n.4, 8); employed a secret line of credit to charge overdraft fees (id. at 5 n.6);
    provided unclear balance information (id. at 5 n.7); failed to disclose the circumstances under
    which it would charge overdraft fees (id. at 5 n.8); knew the adverse impact that its scheme had
    on Plaintiffs and the Class (id.); and failed to provide Plaintiffs and Class members with any
    meaningful opportunity to opt out of its overdraft program (id. at 6 n.11). Additional common
    proof relevant to Plaintiffs’ claims will include evidence regarding TD Bank’s financial
    resources and sophistication in devising the overdraft fee program (id. at n.9); and consumer
    complaints regarding TD Bank’s overdraft fees (id. at 6 n.12).
           Moreover, proof of causation for Plaintiffs’ consumer protection statutory claims can be
    established through common evidence because the contracts in this case are uniform. There is no
    evidence that Class members were exposed to differing oral representations regarding the deposit
    agreements, while there is substantial evidence that all class members were subjected to the same
    or similar written misrepresentations or omissions that prevented them from knowing or
    understanding how TD Bank’s conduct could cause them to sustain harm.
           Indeed, courts have certified classes under each of the relevant states’ consumer
    protection statutes. See Morrissey v Nextel Partners, Inc. 72 A.D.3d 209 (N.Y. App Div 2010)
    (certifying class under New York consumer protection act given the uniformity of a cellular
    telephone company's spending limit fee increase disclosure); Lee v. Carter-Reed Co., L.L.C., 203
    N.J. 496 (N.J. 2006) (reversing denial of class certification on a New Jersey consumer fraud act
    claim where claims were based on a uniform marketing scheme); ; Lee v. Carter-Reed Co.,
    L.L.C., 203 N.J. 496 (N.J. 2006) (certifying Vermont consumer protection act claim); Allen v.
    Holiday Universal, et al., 249 F.R.D. 166, 192 (E.D. Pa. 2008) (certifying UTPCPL claim);
    Petrolito v. Arrow Fin. Servs., LLC, 221 F.R.D. 303, 315 (D. Conn. 2004) (certifying class under
    Connecticut unfair trade practices act).



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    III.        TD BANK’S AFFIRMATIVE DEFENSES DO NOT DEFEAT PREDOMINANCE
                TD Bank acknowledged, but chose not to address, a fatal flaw in its argument regarding
    its affirmative defenses: they are insufficiently pled. Opp. at 30 n.16.12 Affirmative defenses
    must meet the pleading standards of Iqbal and Twombly. See Castillo v. Roche Labs., Inc., No.
    10-20876-CIV, 2010 U.S. Dist. LEXIS 87681, at *5 (S.D. Fla. Aug. 2, 2010) (noting that “a
    majority of district courts in Florida have applied this heightened pleading standard to
    affirmative defenses”). Affirmative defenses that merely offer “‘labels and conclusions’ or ‘a
    formulaic recitation of the elements of a cause of action will not do.’” Id.; Mid-Continent Cas.
    Co. v. Active Drywall S., Inc., 765 F. Supp. 2d 1360, 1362 (S.D. Fla. 2011) (striking affirmative
    defense under Twombly because, as pled, it involved “nothing more than bare conclusions”
    without “any factual basis”). TD Bank’s affirmative defenses are insufficiently pled because
    they are mere labels and conclusions, consisting of single-sentence allegations formulaically
    reciting the elements of accord and satisfaction, ratification, waiver, estoppel, voluntary
    payment, and failure to mitigate. TD Bank’s Answer and Affirmative Defenses [D.E. 1031] at
    22-25.13 Indeed, it is facially implausible that TD Bank’s customers would knowingly consent to
    being gouged by TD Bank’s predatory practices. As such, TD Bank’s affirmative defenses could
    not withstand a motion to strike, much less impede class certification. See generally Torrest v.
    TPUSA, Inc., No. 2:08-cv-618-FtM-29DNF, 2009 U.S. Dist. LEXIS 22033, at *3-*5 (M.D. Fla.
    March 19, 2009) (holding that defenses that simply claim “statute of limitations,” “waiver,” and
    “estoppel” are insufficiently pled); Pujals ex. Re. El Rey De Los Habanos, Inc. v. Garcia, No.
    10-22990-CIV, 2011 WL 1134989, at *6 (S.D. Fla. Mar. 28, 2011) (striking waiver defense
    where defendants failed to allege “any facts detailing how Plaintiff waived his claims”).
                But even if TD Bank’s affirmative defenses were sufficiently pled, they could not defeat
    predominance. Some, such as accord and satisfaction, pertain to damages. The evidence TD

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           TD Bank incorrectly suggests that Plaintiffs waived this argument by not raising it in their Motion.
    Plaintiffs, however, had no obligation to divine TD Bank’s argument and respond to it in their initial
    brief. The function of a reply brief is to rebut arguments raised in the response brief. See S.D. Fla. Local
    Rule 7.1(c). That is what Plaintiffs are doing here.
           13
         TD Bank effectively conceded that its affirmative defenses are insufficiently pled when it moved to
    amend it affirmative defenses to address this insufficiency. TD Bank’s Motion to Amend [D.E. 2193].
    The Court denied TD Bank’s motion to amend, however, because there was ample case law applying
    Twombly and Iqbal to affirmative defenses when TD Bank filed its answer over a year ago, thus leaving
    TD Bank with its insufficiently pled affirmative defenses. Order Denying Motion to Amend [D.E. 2341].
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    Bank cites for its accord and satisfaction defense simply shows that certain Plaintiffs received
    refunds for some, but not all, of the overdraft fees they paid, not that those Plaintiffs entered into
    superseding agreements with the intent to effect a settlement of an existing dispute, as is required
    to find accord and satisfaction. See, e.g., Rudick v. Rudick, 403 So. 2d 1091, 1093-94 (Fla. 3d
    DCA 1981) (“A defense of accord and satisfaction involves a two-step process of proof that (1)
    the parties mutually intended to effect settlement of an existing dispute by entering into a
    superseding agreement, and (2) there was actual performance with satisfaction of the new
    agreement which acted to discharge the debtor's prior obligation.”) (citations omitted). Thus, TD
    Bank’s accord and satisfaction defense is nothing more than a setoff defense, and can be
    accounted for in Plaintiffs’ expert’s damages calculations. See Carbajal v. Capital One F.S.B.,
    219 F.R.D. 437, 441 n.2 (N.D. Ill. 2004) (setoffs would not be a significant focus of the case and
    would likely involve nothing more than a mere calculation). The Eleventh Circuit has repeatedly
    held that individual issues relating to damages do not defeat class certification. See Allapattah
    Servs., 333 F.3d 1248, 1261 (11th Cir. 2003); Sacred Heart, 601 F.3d 1159, 1178 (11th Cir.
    2010).
             Others, such as ratification,14 waiver,15 voluntary payment,16 and failure to mitigate,17
    require, under the law of all fourteen states at issue, full knowledge by Plaintiffs and members of

             14
               See E. Devoe Tompkins, Inc., v. City of Bridgeport, 123 A. 135, 137 (Conn. 1923) (requiring
    “full knowledge” for ratification); Dannley v. Murray, No. CIV.A. 5383, 1980 WL 268061 (Del. Ch. July
    3, 1980) (same); Wittlin v. Giacalone, 171 F.2d 147, 148 (D.C. Cir. 1949) (same); Deutsche Credit Corp.
    v. Peninger, 603 So.2d 57, 59 (Fla. 5th DCA 1992) (same); Wilkins v. Waldo Lumber Co., 153 A. 191, 193
    (Me. 1931) (same); Oaks v. Connors, 660 A.2d 423, 426 (Md. 1995) (same); Jacob Trinley & Sons v.
    Golter, 41 A.2d 243 (N.H. 1945) (same); New York State Medical Transporters Ass’n, Inc. v. Perales,
    566 N.E.2d 134, 137 (N.Y. 1990) (same); Leiber v. Arboretum Joint Venture, LLC, 702 S.E.2d 805, 812
    (N.C. Ct. App. 2010) (same); DeSilvio v. Restauire, 400 A.2d 211, 213 (Pa. Super. Ct. 1979) (same); UST
    Corp. v. General Road Trucking Corp., 783 A.2d 931, 939 (R.I. 2001) (same); Neely v. Love, 142 S.E.
    623, 642 (S.C. 1928) (same); Smith v. Mountjoy, 694 S.E.2d 598, 603 (Va. 2010) (same); Page v. Suraci,
    483 A.2d 601, 603 (Vt. 1984) (same).
             15
              See Roy v. Metropolitan Property and Cas. Ins. Co., 909 A.2d 980, 982 (Conn. App. Ct. 2006)
    (“Waiver involves an intentional relinquishment of a known right . . . .”) (emphasis added and internal
    quotation marks omitted); Amirsaleh v. Board of Trade of City of New York, Inc., 27 A.3d 522, 529-30
    (Del. 2011) (same); Travelers Indem. Co. of Illinois v. United Food & Commercial Workers Intern.
    Union, 770 A.2d 978, 992 (D.C. 2001) (same); Alston v. Alston, 960 So.2d 879, 881 (Fla. 4th DCA 2007)
    (same); Kraul v. Maine Bonding & Cas. Co., 559 A.2d 338, 338-39 (Me. 1989) (same); Hartford
    Underwriters Ins. Co. v. Phoebus, 979 A.2d 299, 310 (Md. Ct. Spec. App. 2009) (same); Margolis v. St.
    Paul Fire & Marine Ins. Co., 125 A.2d 768, 771 (N.H. 1956) (same); Fish King Enterprises v.
    Countrywide Ins. Co., 930 N.Y.S.2d 256, 259 (N.Y. App. Div. 2011) (same); Liptrap v. Coyne, 675
                                                   - 18 -
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    the Class of material facts to make their actions knowing and intentional. 18 However, just like
    the plaintiffs in Larsen did, Plaintiffs here have alleged, and offered evidence to prove, that TD
    Bank actively sought to conceal from its customers material information concerning its scheme,
    including the existence of its secret line of credit which dictated how overdraft charges were
    generated, and that they had the right to opt out of the overdraft program (and thereby avoid




    S.E.2d 693, 696 (N.C. Ct. App. 2009) (same); Com. v. Lucarelli, 971 A.2d 1173, 1179 (Pa. 2009) (same);
    Tidewater Realty, LLC v. State, Providence Plantations, 942 A.2d 986, 995 (R.I. 2008) (same); King v.
    James, 694 S.E.2d 35, 43 (S.C.App. 2010) (same); Waterbury Feed Company, LLC v. O’Neil; 915 A.2d
    759, 762 (Vt. 2006) (same); Stockbridge v. Gemini Air Cargo, Inc., 611 S.E.2d 600, 605 (Va. 2005)
    (same).
             16
               Eagle Maint. Services, Inc. v. Dist. of Columbia Contract Appeals Bd., 893 A.2d 569 (D.C.
    2006) (The voluntary payment doctrine. . . provides that money voluntarily paid under a claim of right to
    the payment, and with knowledge of the facts by the person making the payment, cannot be recovered by
    the payor . . .) (emphasis added and internal quotation marks omitted); W. Natural Gas Co. v. Cities Serv.
    Gas Co., 201 A.2d 164 (Del. 1964) (same); Morris v. City of New Haven, 63 A. 123, 124 (Conn. 1906)
    (same); City of Key W. v. Florida Keys Cmty. Coll., 3D11-417, 2012 WL 126858 (Fla. 3d DCA Jan. 18,
    2012) (same); Norton v. Marden, 15 Me. 45, 45 (Me. 1838) (same); Dua v. Comcast Cable of Maryland,
    Inc., 805 A.2d 1061 (Md. 2002) (same); E.D. Clough & Co. v. Boston & M.R.R., 90 A. 863, 876 (N.H.
    1913) (same); City of Camden v. Green, 25 A. 357, 357 (N.J. 1892) (same); Collins v. Covert, 98 S.E.2d
    26, 29 (N.C. 1957) (same); Peebles v. City of Pittsburgh, 101 Pa. 304, 304 (Pa. 1882) (same); Fairbanks
    v. Mann, 34 A. 1112, 1113 (R.I. 1896) (same); Hardaway v. S. Ry. Co., 73 S.E. 1020, 1025 (S.C. 1912)
    (same); Wilson v. Alexander, 139 Vt. 279, 428 A.2d 1089 (Vt. 1981) (same); Dodson v. Newport News
    Shipbuilding & Dry Dock Co., No. 0278-99-1, 1999 WL 1133301 (Va. Ct. App. Aug. 10, 1999) (same).
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            It is unclear what TD Bank means by its “failure to mitigate” defense or how it differs from
    ratification, waiver, and voluntary payment. This again illustrates the problem of TD Bank’s failure to
    properly plead its affirmative defenses. Regardless, the one case TD Bank cites for it shows that, like
    waiver, estoppel, and voluntary payment, this defense requires that Plaintiffs and members of the Class
    have full knowledge of TD Bank’s policies and practices. See Shelley v. AmSouth Bank, No. CIV.A.97-
    1170-RV-C, 2000 WL 1121778, *11 (S.D. Ala. June 24, 2000).
        18
           TD Bank also claims to raise an estoppel defense, but that doctrine is inapplicable here. As the
    case TD Bank cites for estoppel states, “the essential elements of equitable estoppel are a knowing and
    intentional misrepresentation by the party sought to be estopped under circumstances in which the
    misrepresentation would probably induce reliance, and reliance by the party seeking estoppel to his or her
    detriment.” O’Malley v. Dep’t of Energy, 537 A.2d 647, 651 (N.J. 1987). But TD Bank has not shown
    that any of the Plaintiffs made misrepresentations or that it relied on any misrepresentations. Thus, its
    estoppel defense is completely unsubstantiated and cannot undermine predominance.


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    overdrafts). Mot. at 15-18. Thus, as this Court found in Larsen, “[i]f Plaintiffs can prove these
    facts, they will undercut [TD Bank’s] defenses by common evidence.19 275 F.R.D. at 678.
               Moreover, a common question pertaining to TD Bank’s affirmative defenses is whether
    continuing to pay overdraft fees after learning about TD Bank’s policies and practices is even the
    type of conduct that could, as a matter of law, support a ratification, waiver, voluntary payment,
    or failure to mitigate defense. As the Court can answer this question on a class-wide basis, it
    only provides further support for finding that common issues predominate.                     See Miller v.
    Optimum Choice, Inc., No. DKC 2003-3653, 2006 WL 2130640, *7 (D. Md. July 28, 2006)
    (“Because the affirmative defenses are common across the putative class members, the defenses
    would not operate to destroy the predominance of common questions across the class, but would
    instead provide an additional link of commonality between the class members.”).
    IV.        PLAINTIFFS’ OTHER ALLEGATIONS DO NOT RAISE INDIVIDUALIZED
               ISSUES

               TD Bank argues that Plaintiffs’ allegations that TD Bank utilized a secret line of credit,
    failed to notify customers at the point of sale whether a transaction would overdraw their
    account, and failed to disclose to customers that they could opt out of overdraft services create
    individualized issues because they “raise questions regarding the expectations, experiences, and
    knowledge of individual Plaintiffs.” Opp. at 36. As discussed more fully above, however,
    individual Plaintiffs’ expectations, experiences, and knowledge are not relevant to Plaintiffs’
    claims in this case.




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            As this Court also found in Larsen, “[t]o the extent [TD Bank] could prove that some customers
    learned of their secret line of credit or of their ability to opt out, yet continued to incur and pay overdraft
    fees, the presence of individualized defenses as to a small number of class members would not destroy the
    predominance of common liability questions.” 275 F.R.D. at 678 n.9 (citing Smilow v. Southwestern Bell
    Mobile, Sys., Inc., 323 F.3d 32, 39 (1st Cir. 2003); Dupler v. Costco Wholesale Corp., 249 F.R.D. 29, 45
    (E.D.N.Y. 2008); Robin Drug Co. v. Pharmacare Mgmt. Servs., Inc., No. Civ. 033397, 2004 WL
    1088330, at *5 (D. Minn. May 13, 2004)). Rule 23(b)(3) “tolerates some individualized issues, so long as
    ‘questions of law or fact common to the members of the class predominate over any questions affecting
    only individual members.’” Gutierrez v. Wells Fargo Bank, N.A., No. C07-05923 WHA, 2010 WL
    1233810, *13 (N.D. Cal. Mar. 26, 2010); see also In re Visa Check/Mastermoney Antitrust Litig., 280
    F.3d 124, 138 (2d Cir. 2001), overruled on other grounds by In re Initial Public Offerings Securities
    Litig., 471 F.3d 24, 39-40 (2d Cir. 2006) (“[T]he question for purposes of determining predominance is
    not whether a defense exists, but whether the common issues will predominate over the individual
    questions raised by that defense.”).
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           Further, despite TD Bank’s suggestion otherwise, Plaintiffs do not need to show whether
    each particular Plaintiff was harmed by these practices. Plaintiffs were harmed by TD Bank’s
    debit re-sequencing scheme. The additional conduct addressed here furthered that scheme by
    keeping customers in the dark about TD Bank’s practices. Indeed, TD Bank’s own internal
    documents acknowledge this fact. See Mot. at 18.
    V.      INDIVIDUAL ISSUES RELATING TO CAUSATION DO NOT PREDOMINATE

           TD Bank readily admits – as it must – that individual issues relating to damages do not
    defeat class certification when those damages can be calculated using a mathematical or
    mechanical formula. See, e.g., Alabama v. Blue Bird Body Co., 573 F.2d 309, 326-7 (5th Cir.
    1978). The Declaration of Art Olsen clearly establishes that a mechanical calculation of the
    damages in this case is feasible. Faced with this elegant and logical solution to the damages
    analysis in this case, TD Bank pivots to an attack on Mr. Olsen, arguing that (1) Olsen’s
    testimony does not “fit” the case; (2) Olsen refuses to identify the “proper” posting method; and
    (3) Olsen does not account for predicted changes in bank practices and customer behavior.
    These arguments are without merit.         These arguments are fully addressed in Plaintiffs’
    opposition to TD Bank’s motion to strike Mr. Olsen’s report filed concurrently. See Response in
    Opposition to Motion to Exclude Olsen (“Daubert Response”) at 6-7, 13-18.
    VI.    NO INTRA-CLASS CONFLICTS EXIST

           A.      There Is No Preclusive Conflict Between Plaintiffs’ and Class Members’
                   Interests.

           TD Bank asserts that an intra-class conflict exists that should preclude certification. Opp.
    at 44-47. The purported conflict, according to TD Bank, is that some alternative posting orders
    would lead to differing results between the Class members, such that “[t]he choice of remedies
    will favor some plaintiffs, enlarging their recovery, while eliminating or minimizing the recovery
    of other plaintiffs.” Id. at 45. As the testimony of TD Bank’s own expert demonstrates,
    however, no such conflict exists. But even if one did, it would not defeat class certification.
           For this intra-class conflict argument, TD Bank relies on the calculations of its expert,
    Steven Visser. Visser calculated the percentage increase or decrease in overdraft fees under a
    number of alternative posting methods as compared to TD Bank’s actual method. See Visser
    Decl. ¶ 19, Table 3. According to Visser’s calculations, every named Plaintiff fared best under

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    the “Credits then Debits Low to High” posting order. Id. Indeed, TD Bank concedes that this
    posting order “necessarily generates the least amount of overdrafts.”               Opp. at 46.     Thus,
    according to TD Bank’s own expert, Plaintiffs’ and the Class’s interests are perfectly aligned—
    every Class member’s recovery will be maximized if the “Credits then Debits Low to High”
    posting order is used to calculate damages. Similarly, according to Visser’s calculations, the
    interests of Plaintiffs and the Class are also aligned with respect to the “Scenario 2A” posting
    order that the Gutierrez court adopted, as every named Plaintiff will benefit if that order is used.
    See Visser Decl. ¶ 19, Table 3. There are, therefore, at least two posting orders that all Class
    members have an interest in advocating should be used to calculate damages.20
              Faced with this clear alignment of interests, TD Bank tries to invent a conflict within the
    Class by pointing to several hypothetical posting orders under which some Class members would
    benefit and others would not. But TD Bank does not show that Plaintiffs have a legal basis for
    pursuing one of those alternatives over the two posting orders that benefit the entire class.
    Without such a showing, there is no real conflict, just an imaginary one, which is insufficient to
    defeat class certification. See Ward v. Dixie Nat. Life Ins. Co., 595 F.3d 164, 180 (4th Cir. 2010)
    (“[A] conflict will not defeat the adequacy requirement if it is “merely speculative or
    hypothetical . . . .”) (internal quotation marks omitted).21
              But even if some conflict relating to alternative posting orders existed, it would not
    preclude class certification. For a conflict between the representative and the class to defeat
    class certification, it must be “a fundamental one, going to the specific issues in controversy.”
    Pickett v. Iowa Beef Processors, 209 F.3d 1276, 1280 (11th Cir. 2000); see also Valley Drug Co.

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            The specific example TD Bank relies upon, involving Plaintiffs Daniels and Mazzadra,
    demonstrates that Plaintiffs’ interests are not antagonistic. See Opp. at 41. According to Visser’s
    calculations, Daniels fares the same under Scenario 2A and “Credits then debits low to high,” while
    Mazzadra fares 25% better under “Credits then debits low to high,” and 8% better under Scenario 2A.
    See Visser Decl. ¶ 19, Table 3. Thus, Daniels’s and Mazzadra’s interests are aligned in that both would
    benefit if either Scenario 2A or “Credits then debits low to high” were used to calculate damages. In any
    event, Mazzadra has voluntarily dismissed his claims, [D.E. 2344], and is no longer a Class
    representative.
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      See also Colomar v. Mercy Hospital, Inc., 242 F.R.D. 671, 679 (S.D. Fla. 2007) (certifying class where
    the purported intra-class conflict was “purely hypothetical”); In re Metlife Demutualization Litigation,
    229 F.R.D 369, 377 (S.D.N.Y. 2005) (certifying class where there was “’nothing but speculation that
    plaintiffs’ interests conflict with the interests of the class’”) (quoting Walsh v. Northrop-Grumman Corp.,
    162 F.R.D. 440, 447 (E.D.N.Y. 1995)).

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    v. Geneva Pharmaceuticals, Inc., 350 F.3d 1181, 1189 (11th Cir. 2003) (“[T]he existence of
    minor conflicts alone will not defeat a party's claim to class certification ….”). Here, the specific
    issues in controversy are whether TD Bank’s high-to-low posting practices breached the duty of
    good faith and fair dealing, were deceptive, were unconscionable, or resulted in unjust
    enrichment. As all Class members will benefit if Plaintiffs prevail on these issues, there is no
    fundamental intra-class conflict. See James D. Hinson Elec. Contracting Co., Inc. v. BellSouth
    Telecommunications, Inc., 275 F.R.D. 638, 643 (M.D. Fla. 2011) (finding that no fundamental
    intra-class conflict existed when “[t]he specific issues in this controversy concern whether
    BellSouth's billing practices were deceptive, fraudulent, or resulted in unjust enrichment,” and all
    class members would benefit if plaintiffs prevailed on their claims). Rather, as TD Bank
    concedes, the conflict that it claims exists goes to “the choice of remedies.” Opp. at 45. But
    conflicts concerning the measurement or calculation of damages are not fundamental and do not
    preclude class certification. See Blackie v. Barrack, 524 F.2d 891, 908-910 (9th Cir.1975)
    (finding that certification of a class was proper even where the interests of class members in
    calculating damages might conflict); see also In re Cendant Corp. Litigation, 182 F.R.D. 476,
    479 (D.N.J. 1998) (same); In re One Bancorp Sec. Litig., 136 F.R.D. 526, 532 (D. Me. 1991)
    (same). Thus, the conflict that TD Bank claims exists cannot defeat class certification.
           B.   There Is No Preclusive Conflict As A Result Of Some Class Members
                Benefiting From TD Bank’s Posting Practices.
           TD Bank also argues that a separate conflict exists between those Class members who
    purportedly benefited from its high-to-low posting practices and those who did not. See Opp. at
    48. According to TD Bank, some Class members “economically benefited from TD Bank’s
    high-to-law posting practices in that it enabled TD Bank to offer free checking.” Id. This
    argument is similar to the one it made in attacking Mr. Olsen for failing to consider changes in
    bank practices and consumer behavior in a world with a different posting order, and fails for
    many of the same reasons discussed in Plaintiffs’ response to TD Bank’s Daubert motion. See
    Daubert Response at 13-18.
           First, if Plaintiffs prevail, every Class member will benefit economically in that they will
    receive a refund of the overdraft fees they incurred as a result of TD Bank’s high-to-low posting
    practices. And in the world that actually existed, in which TD Bank offered free checking, no
    Class member benefitted economically by paying an overdraft fee. Only in TD Bank’s counter-

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    factual world, in which TD Bank claims it would charge its customers for checking and use an
    alternative posting order, can it argue that some Class members would benefit from its high-to-
    low posting practices. But TD Bank points to no case law that supports imagining whether some
    class members would have benefited from a defendant’s predicted practice in a hypothetical
    world to determine whether an intra-class conflict exists.22 Indeed, the case law points in the
    opposite direction: hypothetical conflicts based on uncertain predictions about a defendant’s
    conduct cannot preclude certification. See Ward, 595 F.3d at 180 (affirming class certification
    and rejecting intra-class conflict argument because the putative conflict rested on the uncertain
    prediction that the lawsuit would cause the defendant insurer to raise premiums enough to
    adversely affect some members of the class).
             But even if it were appropriate to consider TD Bank’s counter-factual world to determine
    whether an intra-conflict exists, TD Bank offers no evidence to support it. There is no evidence
    in the record showing that TD Bank’s high-to-low posting practices actually enabled it to offer
    free checking; there is no evidence indicating how much TD Bank would have charged for a
    checking account had it not used a high-to-low posting order; and there is no evidence that any
    Class members would have stayed with TD Bank had it charged a fee for checking. Without
    such evidence, there is no basis for entertaining TD Bank’s speculation that some Class members
    benefitted from its high-to-low positing practices.
    VII.     PLAINTIFFS’ DETAILED TRIAL PLAN AND STATE LAW SURVEYS
             DEMONSTRATE THIS CASE IS WELL-SUITED FOR CLASS TREATMENT
             A.     Common Questions Of Multi-State Law Predominate.
             TD Bank’s assault on Plaintiffs’ proposed Trial Plan and state law groupings fails. To
    make its argument, TD Bank ignores critical elements of Plaintiffs’ Trial Plan and proposed state
    law groupings; focuses on non-critical issues; and attempts to muddy the waters by throwing up
    supposed shortcomings all in an effort to draw attention away from the painstakingly constructed
    Trial Plan Plaintiffs have proposed.

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           In the cases it did cite, some class members received a direct benefit from the defendant’s practice,
    not some indirect benefit imagined to exist from a comparison of the defendant’s actual practice and its
    predicted actions in a hypothetical world. See Valley Drug Co., 350 F.3d at 1190-91 (reversing class
    certification and remanding to determine whether national wholesalers actually “made more money on the
    sale of the branded product than on the generic product” as a result of the defendants’ challenged
    agreements); Pickett, 209 F.3d at 1280 (reversing class certification because those members of the class
    who had entered into the challenged forward contracts and marketing agreements “have benefitted”).
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           In keeping with the dictates of Eleventh Circuit law, Plaintiffs have demonstrated that the
    applicable state laws can be sorted into a small number of groups, each containing materially
    identical legal standards. Klay, 382 F. 3d at 1262. See also Powers v. Gov’t Employees Ins. Co.
    192 F.R.D. 313, 318-19 (S.D. Fla. 1998). Importantly, complete uniformity of state law is not
    required as long as there are no material conflicts among the laws. Simon v. Phillip Morris, 124
    F. Supp. 2d 46, 77 (E.D.N.Y. 2000). Indeed, as this Court observed in Larsen, the Court may
    certify multi-state classes even if “different claims or issues are subject to different bodies of law
    that are not the same in functional content but nonetheless present a limited number of patterns
    that the court . . . can manage by means of” sub-classing. Larsen, 275 F.R.D. at 679 (quoting
    American Law Institute, Principles of the Law: Aggregate Litigation § 2.05(b) (2010)).
           Plaintiffs here have provided the Court a detailed package of information including a
    Trial Plan that explains how common evidence will be used to try class claims. The Trial Plan
    details the essential elements for recovery on each claim, including extensive citation to
    controlling authority in each jurisdiction. The Plan sets forth clear and carefully considered
    subgroupings (13 in total) for each claim asserted with reference to the proposed Class
    representatives for each subclass as well as an explanation as to how each subclass was formed.
    Comprehensive special verdict forms are also included for every claim.             The Plan further
    provides a wide-ranging survey showing the types of common evidence that will be used to
    prove the Class claims and a lays out a clear plan for ensuring that an efficient and manageable
    trial takes place. As detailed below, TD Bank’s objections to Plaintiffs’ proposed groupings fail.
           B.      Plaintiffs’ Proposed Groupings Properly Account for Minor Variations in
                   State Law.

           TD Bank argues Plaintiffs’ Trial Plan erroneously categorizes Plaintiffs and states. Opp.
    at 50. This is incorrect. TD Bank’s attempt to paint the reasonable subclasses presented as
    confusing is similarly untrue. As Plaintiffs explained in the Trial Plan and accompanying
    exhibits, Plaintiffs intend to deal with the application of multiple states’ laws by relying upon a
    small number of subclasses, grouping together states where materially identical legal standards
    apply. To further ensure the trial is manageable, Plaintiffs have also provided special verdict
    forms which guide jurors through the elements of Plaintiffs’ claims, under each separate
    subclass. The groupings are narrowly focused and intuitive.


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            For example, in proposed Unjust Enrichment Subclass 1, Plaintiffs have grouped those
    states in which TD Bank does business that use the First Restatement’s definition of unjust
    enrichment into a single subclass.      For Subclass 1, Plaintiffs have combined the states of
    Connecticut, New Hampshire, Vermont and the District of Columbia. Representing this class are
    residents of Connecticut, Vermont, Pennsylvania, New Jersey and New York. In its Opposition,
    TD Bank complains that representatives from New York and New Jersey are in this subclass.
    Opp at 50.23 Plaintiffs included representatives from these states because they too can represent
    Subclass 1. The reason why is simple, yet TD Bank ignores it: Subclass 3 contains states
    (Delaware, New Jersey, New York and North Carolina) that also follow the Restatement, but add
    a requirement that there be an inadequate remedy at law. Thus if plaintiffs are able to prove all
    of the elements of Subclass 3, they will also, by definition, already prove the elements of
    Subclass 1. This difference is specifically detailed in Plaintiffs Proposed Special Verdict Forms
    which, for Subclass 3, set forth a question for jurors to decide whether there is an adequate
    remedy at law.
            TD Bank also complains that the only representative of Unjust Enrichment Subclass 2 is
    also a representative of Subclass 1. Opp. at 50. But this is another red herring. Todd Mosser of
    Pennsylvania can represent both Subclasses 1 and 2 because, by necessity, if he proves the
    elements for unjust enrichment under Subclass 2, he will automatically prove the elements
    needed for Subclass 1 because Subclass 2 contains the same elements under the Restatement, but
    adds a requirement that there be an appreciation of the benefit conferred. The proposed special
    verdict forms deal precisely with this issue by listing as a jury question whether defendant
    appreciated the benefit conferred from plaintiff and the subclass. See Unjust Enrichment Special
    Verdict Form (Appx. I to Plaintiff’s Motion, Exh. E).
            Other supposed insurmountable difficulties are easily explained. In fact, two of the
    “difficulties” latched on to by TD Bank are plainly typographical errors. TD Bank complains
    that there are inconsistencies between the Trial Plan and the exhibits in that the written Trial Plan
    includes in Unconscionability Subclass 2 representatives from states not covered by that subclass
    while the exhibit does not. Opp at 50. This is a mere typographical error. Two of the proposed


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          TD Bank ignores in its response the representatives from Connecticut, Vermont and Pennsylvania,
    who are also proper representatives of this subclass.
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    Class representatives were inadvertently listed in the Trial Plan; the correct information appears
    in the Exhibit. Appx. I to Plaintiffs’ Motion, Exh. C.
            Similarly, TD Bank complains that no representatives are listed for Unconscionability
    Subclass 1 in the Trial Plan, even though the exhibit lists the representatives. Opp. at 50. This
    typographical error is even more obvious as the sentence pointed to by TD Bank simply reads
    “The proposed See Appendix II.” Trial Plan at 14. It is clear that something went awry in the
    process of finalizing the document. This is not grounds to find Plaintiffs’ proposed groupings
    fail. Plaintiffs regret these errors, as minor as they may be, and can easily provide a corrected
    Trial Plan, although it should be noted that the correct information was provided in the exhibits.
            TD Bank also claims that there are material variations in the law of good faith and fair
    dealing between the states grouped together by Plaintiffs. Opp. at 53. This is incorrect. TD
    Bank contends that some states require a showing of bad faith or ill motive, while others do not.
    Opp. at 54-55. Yet, the elements in Plaintiffs’ proposed jury verdict forms already recognize and
    accommodate these requirements. For Subclass 1, which includes the states Connecticut, New
    Hampshire and New Jersey, the fact finder will be asked to determine whether the defendant
    acted in bad faith or engaged in unreasonable conduct.24 Thus, contrary to TD Bank’s assertion,
    the standards for proving bad faith are not contrasting and are instead uniform.
            Relying on Centronics Corp. v. Genicom Corp., 562 A.2d 187, 193-94 (N.H. 1989), TD
    Bank contends that New Hampshire does not require bad faith. Opp. at 53. This is not true.
    While the Centronics court did not explicitly use the words “bad faith,” it clearly found that “bad
    faith” was required when it held a lack of good faith must be proved. Id. at 193-94. “Bad faith”
    is synonymous with the absence of good faith; thus, if bad faith is proved, a violation of New
    Hampshire law is found.
            Plaintiffs’ two unconscionability subclasses also sufficiently accommodate state-law
    variations.    Plaintiffs’ Trial Plan proposes two subclasses for Plaintiffs’ claims for


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            See, e.g., De La Concha of Hartford, Inc. v. Aetna Life Ins. Co., 849 A.2d 382, 288 (Conn. 2004)
    (bad faith by defendant required); Dunlap v. State Farm Fire & Cas. Co., 878 A.2d 434, 442 (Del. 2005)
    (bad faith by defendant required; unreasonable conduct is a form of bad faith); Bennett v. ITT Hartford
    Group, 846 A.2d 560, 564 (N.H. 2004) (requirement that defendant not act in good faith); Payne v.
    Fujifilm U.S.A., Inc., 2007 U.S. Dist. LEXIS 94765, at *34 (D.N.J. Dec. 28, 2007) (bad faith performance
    constitutes breach of the covenant);24 Harsch Props., Inc. v. Nicholas, 932 A.2d 1045, 1051 (Vt. 2007)
    (breach of the covenant requires an absence of good faith)
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    unconscionability, both of which are based on Uniform Commercial Code § 2-302. The only
    differences among the states pertain to whether both procedural and substantive
    unconscionability are required (Subclass No. 1), and whether only substantive unconscionability
    is required (Subclass No. 2). See Trial Plan at 5-6 & Exh. C thereto. TD Bank lodges two
    baseless objections to these subclasses.
           TD Bank asserts that New York prohibits unconscionability as an affirmative claim.
    Opp. at 54.     However, the Court has already rejected this argument, finding that, while
    unconscionability is ordinarily asserted as a defense to a contract, this is not the ordinary case.
    See Order on Motion to Dismiss [DE# 305] at 26. Further, the Court has found that it may
    declare as unconscionable contractual clauses purporting to reserve discretion to re-sequence
    transactions highest-to-lowest so as to maximize overdraft fee charges, and that the Court may
    fashion appropriate equitable relief. Id.
           TD Bank also claims that New Jersey requires proof of unconscionability on a sliding
    scale, and therefore should not be grouped in the same subclass. However, a material variation
    in standards does not result because some of the cases discuss how substantive and procedural
    unconscionability need not be present in equal measure and that a sliding scale can be invoked.
    E.g., Hayes v. Oakridge Home, 908 N.E.2d 408, 420-21 (Ohio 2009). This merely goes to how
    evidence is weighed and is easily accommodated via jury instructions. TD Bank fails to cite any
    authority to the contrary.
           TD Bank’s argument regarding the unjust enrichment subclass is similarly misguided.
    First, contrary to the Bank’s claim, courts can and do certify unjust enrichment claims. For
    example, Judge Seitz certified a 17-state unjust enrichment subclass in In re Terazosin
    Hydrochloride Antitrust Litig., 220 F.R.D. 551, 697 n.40 (S.D. Fla. 2004), finding that unjust
    enrichment law is “virtually identical” from state to state. See also In re Mercedes-Benz Tele Aid
    Contract Litig., 267 F.R.D. 113, 119 (D.N.J. 2010) (the minor variations in the elements of
    unjust enrichment in the laws of the various states are not material and do not create conflicts).
           Second, TD Bank asserts that the unjust enrichment claims cannot be certified because
    there can be no unjust enrichment claim where there is a formal contract with the parties. Opp.
    at 54-55. But the Court already addressed this argument in response to motions to dismiss and
    held that Plaintiffs are entitled to proceed on both a breach of contract and unjust enrichment
    theory in the alternative, adding: “Federal Rule of Civil Procedure 8(d) allows pleading in the
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    alternative, even if the theories are inconsistent. Defendants have not conceded that Plaintiffs are
    entitled to recovery under the contract, and it is possible that if their contractual claim fails,
    Plaintiffs may still be entitled to recovery under an unjust enrichment theory.” Order on Motion
    to Dismiss [DE# 305] at 32-33. Thus, the unjust enrichment claims should move forward and be
    certified as class claims.
            C.      There Are No Constitutional Problems With Plaintiffs’ Trial Plan.

            TD Bank complains the proposed Trial Plan violates due process, the Seventh
    Amendment and Article III of the U.S. Constitution. Nonsense. First, the proposed Trial Plan is
    not final, by necessity. Discovery is ongoing and changes to the Plan, in light of the completion
    of discovery, reports from experts, and orders by the Court may allay the concerns expressed by
    TD Bank. Second, far from computing damages on an aggregate basis without regard to the
    individual circumstances of each putative Class member, Plaintiffs’ plan is to calculate a total
    Class damage number by first calculating the amount of damage suffered by each Class member
    and taking into consideration the individual circumstances of each Class member. Trial Plan at
    8-9. In other words, total Class damages are calculated by summing each Class member’s
    individual damage.
            More specifically, Plaintiffs’ expert Arthur Olsen will first mine TD Bank’s detailed
    transaction data to identify each Class member who incurred overdraft fees as a result of high-to-
    low re-sequencing of debit transactions by comparing that re-sequencing to each of the
    alternative posting scenarios discussed in his declaration. Olsen Decl., ¶ 47. Mr. Olsen will then
    calculate each Class member’s individual damage. Id., ¶ 47. And contrary to TD Bank’s
    contention that Plaintiffs’ methodology ignores the individual circumstances of each Class
    member, Mr. Olsen’s approach also considers any reversals and write-offs specific to each Class
    member. Id., ¶ 24-28. Indeed, Mr. Olsen has already applied his reliable methodology to
    calculate the precise amount of each named Plaintiffs’ damage by reference to one potential
    alternative posting order. Id., ¶¶ 49-53.
            Only after the fact finder has awarded total Class damages will that total number be
    distributed to Class members in a post-trial administrative procedure. In that process, checks or
    direct deposits will be issued to each individual Class member based on Mr. Olsen’s calculation
    of each Class member’s individualized damages as found by the adjudicator of fact. Mot. at

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    50; Trial Plan at 2-3.25 There simply will not be any post-trial factual determinations during this
    distribution process that infringes the fact finder’s role to determine individual damages.26
              TD Bank is deprived of no rights by having Plaintiffs’ expert, following the liability
    portion of the trial, determine the amount of damages each class member is entitled to by using a
    formula based on the jury’s verdict regarding the proper posting order.                       The claimed
    constitutional issues are non-existent.
    VIII. PLAINTIFFS’ TRIAL                 PLAN       ESTABLISHES           THAT       THE      ACTION        IS
          MANAGEABLE

             A.     The Trial Plan Adequately Addresses All Potential Issues.

             In addition to its claims of confusion regarding Plaintiffs’ proposed subclasses, TD Bank
    also seeks to defeat certification by claiming that in order to try Plaintiffs’ claims, so many
    subclasses would be required as to render the action unmanageable. This is untrue. The number
    of subclasses proposed—13 in total with five of those being separate statutory subclasses—is
    entirely manageable. Of course, thirteen subclasses is eminently more manageable than the
    thousands of individual cases that would exist should certification be denied.27
             TD Bank contends that the Court is likely to encounter management difficulties sufficient
    to negate a finding of superiority. Opp. at 53-57. But, as demonstrated above and in Plaintiffs’
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           The cases relied upon by TD Bank highlight the weakness of their position. Basco v. Wal-Mart
    Stores, Inc., 216 F. Supp. 2d 592, 604 (E.D. La. 2002) is wholly inapposite. In that case plaintiffs sought
    to focus on a representative sample of injured plaintiffs to determine damages. Here, by contrast,
    Plaintiffs’ expert would calculate each class members actual damages, using TD Bank’s own records.
    Cimino v. Raymark Indus., Inc., 151 F.3d 297, 311 (5th Cir. 1998) and Kpade v. Emmanuel, 261 F.R.D.
    687, 692 (S.D. Fla. 2009), also cited by TD Bank, fare no better. Cimino was an asbestos case where
    representative cases were to be extrapolated to find class-wide liability. Here, by contrast, each Plaintiff’s
    actual records will be mined to determine damages following a finding for Plaintiffs. Kpade is
    completely irrlevant. There the court found class certification inappropriate where the question as to
    whether each alleged victim was tortured and arbitrarily detained was necessarily an individual one and
    plaintiffs had proposed using summary reviews of deposition transcripts from a sample of the class
    plaintiffs to determine liability and damages.
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          In any event, TD Bank ignores Plaintiffs’ authorities recognizing that post-trial administrative
    proceedings can be used to make individualized damages determinations, even though that will not be
    necessary here. See Mot. at 3 n.2.
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           Should the Court certify the proposed Class and see droves of class members decide to request
    exclusion, the Court retains discretion to later decertify the Class. However, the paltry number of opt-
    outs in the Gutierrez certification against Wells Fargo, where only 44 consumers elected to exclude
    themselves out of a class of approximately 1.1 million, demonstrates that individual consumers are not
    interested in prosecuting separate actions.
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    Motion and Trial Plan, common issues will predominate. Any individual issues that remain will
    be ancillary, will not be the focus of most of the Court’s efforts, and will neither vitiate
    predominance of the common issues nor make trial unmanageable. Plaintiffs set forth a very
    cogent and reasonable plan for trying this case based on detailed citations to common evidence,
    and TD Bank cannot rebut it.
             Moreover, as Plaintiffs highlighted in their Motion, the manageability factor “will rarely,
    if ever, be in itself sufficient to prevent certification of a class.” Klay, 382 F.3d at 1272. The
    question is not whether a class trial will be easy to manage but, rather, whether multiple
    individual lawsuits would be more manageable than a class action. Id. at 1273.28 TD Bank does
    not argue that multiple individual lawsuits would be more manageable, and it is indeed difficult
    to envision how a multiplicity of suits would be superior to a single class-wide proceeding.
    Second, despite TD Bank’s claims to the contrary, the purported variations in state law detailed
    by TD Bank in its Opposition are not material.
             TD Bank claims that Plaintiffs have failed to adequately address individual questions
    related to Plaintiffs’ claims by presenting three unconvincing arguments. First, TD Bank argues
    that in order to state a claim under the UTPCPL, Plaintiffs must plead all of the elements of
    common law fraud, including reliance, citing Weinberg v. Sun Co., Inc., 565 Pa. 612, 618, 777
    A.2d 442 (Pa. 2001). However, since Weinberg, several courts have held that the Pennsylvania
    legislature’s 1996 amendment to the UTPCPL (which was not addressed in Weinberg)
    eliminated the requirement that a plaintiff plead each element of common-law fraud and do not
    require proof of individual reliance where a causal nexus is shown. See, e.g., Weiler v.
    SmithKline Beecham Corp., 2001 WL 1807382, 53 Pa. D. & C.4th 449, 452-55 (Pa.Com.Pl.
    2001); Flores v. Shapiro & Kreisman, 246 F. Supp. 2d 427, 432 (E.D. Pa. 2002) (holding that, to
    survive a motion to dismiss, plaintiff seeking relief under UTPCPL need allege only that conduct
    was deceptive; all six elements of common law fraud are not necessary).              Second,     TD     Bank
    asserts that Plaintiffs’ Special Verdict Form for the UTPCPL claims “descends into a cloud of
    contradiction” because it tells the jury that if it finds that Plaintiffs have not proven reliance, it
    should proceed to a series of questions that ask whether Plaintiffs justifiably relied on the

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           Carnegie v. Household Int'l, Inc., 376 F.3d 656, 661 (7th Cir. 2004) (“[T]he realistic alternative to a
    class action is not 17 million individual suits, but zero individual suits, as only a lunatic or a fanatic sues
    for $30.”)
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    misrepresentation by the Defendant. Opp. at 51. However, the apparent contradictory and
    repetitive nature of this series of questions is not the result of an error caused by manageability
    of the subclasses as TD Bank contends. Rather, this series of questions represent the elements
    required to satisfy UTPCPL section 201-2(4)(xxi), also known as the ”catchall provision.” As
    discussed above, the “catchall provision” was amended in 1996 to prohibit deceptive conduct in
    addition to fraudulent conduct as follows: “Engaging in any other fraudulent or deceptive
    conduct which creates a likelihood of confusion or of misunderstanding.” Act 146, P.L. 906, § 1,
    December 4, 1996.
             TD Bank’s third and final attack on Plaintiffs’ Trial Plan rests on the assertion that three
    of the named Plaintiffs in the Good Faith and Fair Dealing Subclass No. 1—Carcaci,
    Schwartzman and Nico—present individual questions because they were all customers of
    Commerce Bank before it was acquired by TD Bank in 2009. This argument fails, however,
    because, for the reasons discussed above, the subjective expectations and experiences of
    individual Plaintiffs are irrelevant.      Moreover, as Plaintiffs have established, TD Bank’s
    disclosures were uniformly inadequate.29
             Moreover, any individual issues of fact relating to overdraft fee reversals can be easily
    addressed in the calculation of damages phase, and do not predominate over the issues common
    to the Good Faith and Fair Dealing Subclass No. 1.
             B.     TD Bank’s Claimed Timing Variations Are Not Material.
             Variations in the timing of Plaintiffs’ injuries do not create the need for an unmanageable
    number of subclasses as TD Bank contends. While TD Bank attempts to show that material
    changes occurred over time that affect some putative Class members and not others, the evidence
    put forth in its brief fails to show any material variations in the challenged policies over time.
    On the contrary, each example of a bank policy or notice provided by TD Bank from December
    1999 to March 2011 contains the same or substantially similar language, each failing to

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            TD also claims that former Commerce Bank customers like Carcaci, Schwartzman and Nico
    present individual issues because TD “entertained reversals of all initial overdraft fees for any customer
    who expressed surprise or unhappiness.” Opp at 52. While this policy “entertained” initial reversals of
    overdrafts by former Commerce Bank customers, there was never any change in TD Bank’s course of
    conduct as the bank continued to charge customers overdraft fees while posting debits and credits from
    largest to smallest amount. These reversals were only possible for an initial overdraft fee incurred by
    former Commerce Bank customers after integration, and that was only if customers actually caught the
    initial overdraft charge and complained to the Bank.
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    adequately disclose the posting order TD Bank applied to debit transactions. Opp. at 55-56.
    Furthermore, even assuming that various putative Class members received policy notices at
    different times over the years, the timing of the policies or notices is immaterial, as TD Bank was
    clearly engaged in a common course of conduct that was consistent throughout the Class Period.
    See Priest v. Zayre Corp., 118 F.R.D. 552, 556 (D. Mass. 1988) (“A class period spanning the
    release of different documents is appropriate where the documents repeated the same
    misrepresentation or constituted a common course of conduct.”). In Priest, the court held that
    the alleged misrepresentations were sufficiently related in time and in content to be construed as
    a common course of conduct for purposes of class certification, and noted that “[t]he difference
    in purchase dates does not present an inherent conflict, especially given the cumulative effect
    that the misrepresentations could have.” Id. at 557.30
            In sum, TD Bank’s manageability challenge fails. This case can and will be tried in an
    efficient manner. This is what the Court concluded in Larsen, 275 F.R.D. at 680, and there is no
    reason to alter course here.        Trying this matter as a class action is a superior means of
    adjudicating this dispute.
    VIII. MEMBERSHIP IN THE CLASS IS ASCERTAINABLE

            In a last-ditch effort to defeat class certification, TD Bank erroneously argues that the
    proposed Class cannot be ascertained by reference to objective criteria. Opp. at 57. The crux of
    this argument is the mistaken assumption that Plaintiffs need to define a “baseline” posting order


    30
       The cases TD Bank cites in support of its argument that the presence of individual issues precludes
    class certification, Opp. at 57, are easily distinguishable on factual grounds, as the plaintiffs in each case
    failed to adequately allege a common course of conduct by the defendants that resulted in class-wide
    injury. In In re Healthsouth Corp., some of the proposed class members lacked standing to sue under the
    same cause of action, and some class members were shown to have benefitted from the very conduct that
    allegedly injured the others. See In re Healthsouth Corp., 213 F.R.D. 447, 464-465 (N.D. Ala. 2003).
    Such individual questions are not an issue in the present case, as all Plaintiffs in the proposed subclasses
    have standing to sue under the same cause of action, and all were injured by a common course of conduct
    on the part of the TD Bank. Andrews involved 900-number telephone programs which allegedly involved
    illegal gambling. The Eleventh Circuit found insurmountable problems because reliance would have to
    be proven on an individual basis and the defendant had no records to prove injury and damages. See
    Andrews v. Am. Tel. & Tel., 95 F.3d 1014, 1024 (11th Cir. 1996). Since individual reliance is not an issue
    in the instant case and TD Bank has detailed records, Andrews is distinguishable and is not controlling
    here. Finally, in Iberia Credit Bureau, the court declined to certify the class because the plaintiffs were
    subject to varying contract terms between governmental and non-governmental plaintiffs. See Iberia
    Credit Bureau, 2011 U.S. Dist. LEXIS 131607, *22-23 (W.D. La. Nov. 9, 2011). As explained above,
    that is not the case here.
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    against which its high-to-low posting order can be compared to establish membership in the
    Class. Opp. at 58. While specifying such a baseline is unnecessary at this stage, Plaintiffs do
    allege an alternative posting order that disposes of all of TD Bank’s objections. Plaintiffs have
    pled that all customers who were charged additional overdraft fees, as compared to what they
    would have been charged under a low-to-high posting practice, were harmed by TD Bank’s re-
    ordering scheme. See Consol. Third Am. Class Action Compl. [D.E. 997], ¶¶ 56, 87. Using that
    implicit alternative posting order in the class definition leaves no ambiguity about class
    membership: those customers who incurred additional overdrafts as a result of the high-to-low
    posting, as compared to low-to-high posting, are readily ascertainable through TD Bank’s own
    records.
            Contrary to TD Bank’s suggestion, see Opp. at 58-59, the composition of the class will
    not vary if liability is ultimately premised on a less consumer-friendly posting order than low-to-
    high.      The fact-finder’s determination of the appropriate alternative posting order as a
    comparator for purposes of measuring damages, see Larsen, 275 F.R.D. at 673, will only affect
    which class members are entitled to recover and how much, not who is part of the class that will
    be bound by the judgment.        A judgment for Plaintiffs using a different comparator (say,
    chronological) would still bind all class members.
            In any event, specifying the alternative posting order is not necessary at class certification
    because, as the Court previously recognized in Larsen, what matters for present purposes is that
    Plaintiffs have shown that the class can be identified through objective means. Larsen, 275
    F.R.D. at 672-73. In Larsen, the Court found that “Mr. Olsen can identify which … customers
    incurred additional overdraft fees as a result of high-to-low … [posting] by comparing that re-
    sequencing to each of the alternative posting scenarios . . . .” 275 F.R.D. at 673 (emphasis
    added). Mr. Olsen can do the same thing in this case.
            TD Bank also argues that the Class definition is impermissibly vague because its start
    date is based on the applicable statutes of limitation rather than a particular date in time. Opp. at
    59. TD Bank is wrong. A class definition should include the relevant time period during which
    the class members incurred the claimed injury. Manual For Complex Litigation (Fourth), §
    21.222, at 394. Called the “Class Period,” this time period is commonly linked to statutes of
    limitation where, like here, the challenged conduct predates the relevant limitations period. See,
    e.g., Vega, 564 F.3d at 1263 (court did not take issue with definition of class period as beginning
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    with the “commencement of the statute of limitations through the date that the Court certifies this
    suit as a class action”); Nelson v. Mead Johnson Nutrition Co., 270 F.R.D. 689 (S.D. Fla. 2010)
    (certifying class defined as “[a]ll Florida consumers who purchased Enfamil® LIPIL® within
    the applicable statute of limitations.”); N. Jackson Pharm., Inc. v. Express Scripts, Inc., 2006
    U.S. Dist. LEXIS 98774, at *18-20 (N.D. Ala. Mar. 3, 2006) (class certified where class period
    beginning date was based on when limitation period began to run); Larsen, 275 F.R.D. 280-
    281.31
             There is nothing vague about the Class Period proffered by Plaintiffs here. As detailed in
    the Trial Plan, Plaintiffs’ propose 13 subclasses for the state law claims. Each subclass will have
    its own start date linked to the statute of limitations for each of those claims.32

                                                CONCLUSION
             For all of the foregoing reasons, and for the reasons set forth in Plaintiffs’ Motion and
    Trial Plan, Plaintiffs respectfully request that the Court grant their motion to certify the Class
    pursuant to Fed. R. Civ. P. 23(b)(3). A proposed Order is attached.




        31
           Notably, where class members may be subject to different statutes of limitations or where a class
    definition merits further clarification, class certification is not defeated. Rather, courts commonly create
    subclasses if various statutes of limitations are involved in the same action. See, e.g., Brown v. Funeral
    Servs. of Fla., Inc., 212 F.R.D. 602, 608 (S.D. Fla. 2003) (where two distinct statutes of limitations
    governed class members’ claims, court remedied issue by creating subclass for each).
        32
           TD Bank’s citation to Clausnitzer v. Fed. Express Corp., 248 F.R.D. 647, 655 (S.D. Fla. 2008)(see
    Opp. at 59), is unavailing because the plaintiffs in that case, unlike Plaintiffs in this action, failed to
    present a proposed subclass scheme. Moreover, Clausnitzer involved employment agreements including
    limitations periods shorter than those provided by the applicable state laws; determining the validity of
    those provisions presented choice of law issues potentially requiring individualized fact inquiries not
    implicated by the facts of this case. See id.
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           Dated: March 6, 2012.

                                         Respectfully submitted,

    /s/ Aaron S. Podhurst                            /s/ Bruce S. Rogow
    Aaron S. Podhurst, Esquire                       Bruce S. Rogow, Esquire
    Florida Bar No. 063606                           Florida Bar No. 067999
    apodhurst@podhurst.com                           brogow@rogowlaw.com
    Robert C. Josefsberg, Esquire                    Bruce S. Rogow, P.A.
    Florida Bar No. 40856                            Broward Financial Center
    rjosefsberg@podhurst.com                         500 East Broward Boulevard
    Steven C. Marks, Esquire                         Suite 1930
    Florida Bar No. 516414                           Fort Lauderdale, FL 33394
    smarks@podhurst.com                              Tel: 954-767-8909
    Peter Prieto, Esquire                            Fax: 954-764-1530
    Florida Bar No. 501492
    pprieto@podhurst.com
    Stephen F. Rosenthal, Esquire
    Florida Bar No. 0131458
    srosenthal@podhurst.com
    John Gravante, III, Esquire
    Florida Bar No. 617113
    jgravante@podhurst.com
    PODHURST ORSECK, P.A.
    City National Bank Building
    25 W. Flagler Street, Suite 800
    Miami, FL 33130-1780
    Tel: 305-358-2800
    Fax: 305-358-2382

                                      Co-Lead Counsel for Plaintiffs




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    /s/ Robert C. Gilbert
    Robert C. Gilbert, Esquire
    Florida Bar No. 561861
    rcg@grossmanroth.com
    Stuart Z. Grossman, Esquire
    Florida Bar No. 156113
    szg@grossmanroth.com
    David Buckner, Esquire
    Florida Bar No. 60550
    dbu@grossmanroth.com
    Seth E. Miles, Esquire
    Florida Bar No. 385530
    sem@grossmanroth.com
    GROSSMAN ROTH, P.A.
    2525 Ponce de Leon Boulevard
    Eleventh Floor
    Coral Gables, FL 33134
    Tel: 305-442-8666
    Fax: 305-779-9596

    Coordinating Counsel for Plaintiffs




    /s/ E. Adam Webb                        /s/ Michael W. Sobol
    E. Adam Webb, Esquire                   Michael W. Sobol, Esquire
    Georgia Bar No. 743910                  California Bar No. 194857
    Adam@WebbLLC.com                        msobol@lchb.com
    Matthew C. Klase, Esquire               Roger N. Heller, Esquire
    Georgia Bar No. 141903                  California Bar No. 215348
    Matt@WebbLLC.com                        rheller@lchb.com
    G. Franklin Lemond, Jr., Esquire        Jordan Elias, Esquire
    Georgia Bar No. 141315                  California Bar No. 228731
    FLemond@WebbLLC.com                     jelias@lchb.com
    WEBB, KLASE & LEMOND, L.L.C.            LIEFF CABRASER HEIMANN &
    1900 The Exchange, S.E.                   BERNSTEIN L.L.P.
    Suite 480                               Embarcadero Center West
    Atlanta, GA 30339                       275 Battery Street, 30th Floor
    Tel: 770-444-9325                       San Francisco, CA 94111
    Fax: 770-444-0271                       Tel: 415-956-1000
                                            Fax: 415-956-1008




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    /s/ Russell W. Budd                          /s/ David S. Stellings
    Russell W. Budd, Esquire                     David S. Stellings, Esquire
    Texas Bar No. 03312400                       New York Bar No. 2635282
    rbudd@baronbudd.com                          dstellings@lchb.com
    Bruce W. Steckler, Esquire                   LIEFF CABRASER HEIMANN &
    Texas Bar No. 00785039                         BERNSTEIN L.L.P.
    bsteckler@baronbudd.com                      250 Hudson Street
    Mazin A. Sbaiti, Esquire                     8th Floor
    Texas Bar No. 24058096                       New York, NY 10013
    msbaiti@baronbudd.com                        Tel: 212-355-9500
    BARON & BUDD, P.C.                           Fax: 212-355-9592
    3102 Oak Lawn Avenue
    Suite 1100
    Dallas, TX 75219
    Tel: 214-521-3605
    Fax: 214-520-1181


    /s/ Ruben Honik                              /s/ Ted E. Trief
    Ruben Honik, Esquire                         Ted E. Trief, Esquire
    Pennsylvania Bar No. 33109                   New York Bar No. 1476662
    rhonik@golombhonik.com                       ttrief@triefandolk.com
    Kenneth J. Grunfeld, Esquire                 Barbara E. Olk, Esquire
    Pennsylvania Bar No. 84121                   New York Bar No. 1459643
    kgrunfeld@golombhonik.com                    bolk@triefandolk.com
    GOLOMB & HONIK, P.C.                         TRIEF & OLK
    1515 Market Street                           150 E. 58th Street
    Suite 1100                                   34th Floor
    Philadelphia, PA 19102                       New York, NY 10155
    Tel: 215-985-9177                            Tel: 212-486-6060
    Fax: 215-985-4169                            Fax: 212-317-2946


                                   Plaintiffs’ Executive Committee




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 09-MD-02036-JLK


    IN RE: CHECKING ACCOUNT
    OVERDRAFT LITIGATION

    MDL No. 2036


                                     CERTIFICATE OF SERVICE

           I hereby certify that on March 6, 2012, I electronically filed the foregoing document with

    the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

    this day on all counsel of record or pro se parties identified on the attached Service List in the

    manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

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    electronically Notices of Electronic Filing.



                                                                /s/ Robert C. Gilbert
                                                                Robert C. Gilbert, Esquire
                                                                Florida Bar No. 561861
                                                                GROSSMAN ROTH, P.A.
                                                                2525 Ponce de Leon Boulevard
                                                                Eleventh Floor
                                                                Coral Gables, FL 33134
                                                                Tel: 305-442-8666
                                                                Fax: 305-779-9596




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